     Case 3:17-cv-02923-N Document 66 Filed 11/30/18             Page 1 of 5 PageID 622


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

COLE PECK,                                     §
                                               §
       Plaintiff/Counter-Defendant,            §
                                               §
v.                                             §
                                               §
ASSET MANAGEMENT ASSOCIATES                    §
LLC,                                           §
                                               §
       Defendant/Counter-Plaintiff,            § Case No. 3:17-cv-02923-N
                                               §
v.                                             §
                                               §
JA LYNN KUO, KAREN KUO, SUBHO                  §
MULLICK, JAMES FLETCHER III,                   §
SALIMA THOBANI, GARY MARK                      §
WILSON,                                        §
                                               §
       Counter-Defendants,                     §
v.                                             §
                                               §
GREG MCGAW and DAVID SHANE                     §
SHOULDERS,                                     §
                                               §
       Third-Party Defendants.                 §


             DEFENDANT ASSET MANAGEMENT ASSOCIATES LLC’S
           REPLY IN SUPPORT OF ITS MOTION FOR ATTORNEYS’ FEES


       Defendant Asset Management Associates LLC (“Landlord” or “AMA”) files this Reply in

Support of its Motion for Attorneys’ Fees and would respectfully show as follows:




AMA’S REPLY IN SUPPORT OF ITS MOTION FOR ATTORNEYS’ FEES                            PAGE 1
     Case 3:17-cv-02923-N Document 66 Filed 11/30/18                           Page 2 of 5 PageID 623


                                                     I.
                                                  SUMMARY

         As explained in AMA’s original Motion, the relevant provision allocates to Landlord/AMA

“all costs incurred by Landlord in enforcing its rights and remedies under the Lease and/or this

Guaranty, including reasonable attorneys’ fees, court costs and investigation expenses.” [Dkt. 61,

Mot. at 3.] Noticeably absent from this provision is any qualifier that Landlord’s efforts “in

enforcing its rights and remedies” must reach some level of success. In contrast, all of Guarantors’

cited cases contain qualifiers. In sum, the plain language of the Guaranty, the caselaw cited by

Guarantors, and the contrast between the attorneys’ fees provisions of the Guaranty and the Lease

all reach one singular conclusion: AMA need not have prevailed to receive attorneys’ fees.

                                                    II.
                                                 ARGUMENT

A.       The plain language of the Guaranty does not require success

         Guarantors’ Response frames the issue as “whether Landlord ‘enforce[d] its rights and

remedies under the Lease and/or Guaranty’ through this suit,” and repeatedly asserts that Landlord

has not “enforced” the Guaranty. [Dkt. 63, Resp. at 4 (emphasis added).] But Guarantors’

paraphrasing of the Guaranty1 misleads by changing the tense of the Guaranty, because the relevant

question here is not whether Landlord enforced the Guaranty, but instead whether Landlord

incurred costs in enforcing the Guaranty. Implicit in this phrasing is that while Landlord’s costs

were being incurred, the eventual outcome of Landlord’s enforcement efforts could not be known,

and so attorneys’ fees could not depend on outcome.

         AMA’s careful reading of tense finds support in a Fifth Circuit opinion interpreting a

statute relating to immigration, which held:


1
     “Guarantor absolutely, unconditionally and irrevocably guarantees to Landlord” reasonable attorney’s fees
     incurred “in enforcing its rights and remedies” under the Lease and Guaranty. [Dkt. 61, Mot. at 3.]


AMA’S REPLY IN SUPPORT OF ITS MOTION FOR ATTORNEYS’ FEES                                                   PAGE 2
     Case 3:17-cv-02923-N Document 66 Filed 11/30/18                               Page 3 of 5 PageID 624


         The plain text of Section 922(g)(5) similarly does not suggest that it covers only
         aliens who are not later found to be legally present. Instead, the use of the present
         tense—“is illegally or unlawfully in the United States”—indicates a concern with
         the status of the alien at time of arrest. . . . Someone ordered deported is here
         unlawfully. Though that decision may be vacated or reversed, once an alien is
         deemed deportable, he falls precisely into a category of persons Congress believes
         “may not be trusted.”

United States v. Lim, 897 F.3d 673, 684 (5th Cir. 2018) (emphasis added).

B.       Guarantors’ cited cases support AMA

         Guarantors cite three cases in support of their definition of “enforce.” [See Dkt 63, Resp.

at 4.] But these cases support AMA because they establish that when an attorneys’ fee provision

conditions enforcement on success, it utilizes express language beyond the word “enforce” to do

so, language which is absent from the Guaranty. For example, in Wibbenmeyer, the attorneys’ fees

provision stated: “[a]ny party that successfully enforces this agreement in a court of law or equity

shall be entitled to its attorney and expert witness fees.”2 And in Siskin, the attorneys’ fee provision

stated: “In the event of default under any of the terms and conditions of this Agreement, the

defaulting party agrees to pay in addition to any sum which may be awarded by a court of

competent jurisdiction, the costs incurred by the non-defaulting party in enforcing this Agreement,

including reasonable attorney’s fees.”3

         It is no surprise Wibbenmeyer and Siskin conditioned enforcement on prevailing, given the

former used the language “successfully enforces,” while the latter made attorneys’ fees contingent

on the “event of default.”



2
     Wibbenmeyer v. Tech Terra Commc’ns, Inc., No. 03-09-00122-CV, 2010 Tex. App. LEXIS 2203, at *14 (Tex.
     App.—Austin Mar. 26, 2010, pet. denied) (mem. op.) (emphasis added).
3
     Siskin Enters., Inc. v. W.B. Stoddard, Jr., Inc., 147 F. Supp. 2d 1126 (D. Utah. 2001) (emphasis added).
     Guarantors’ last cited case, Dozier v. City of Gatesville, 51 S.W.2d 1091, 1094 (Tex. Civ. App.—Waco 1932,
     no writ) is inapposite because it related to a city’s agreement “to enforce the collection of” paving certificates
     against certain property owners and that the parties “construed and understood the contract to mean that [the
     city] was guaranteeing the payment of said certificates.” Id.



AMA’S REPLY IN SUPPORT OF ITS MOTION FOR ATTORNEYS’ FEES                                                        PAGE 3
     Case 3:17-cv-02923-N Document 66 Filed 11/30/18                 Page 4 of 5 PageID 625


C.     The context of the Guaranty supports the award of attorneys’ fees

       Guarantors here understood what express language was necessary to make attorneys’ fees

contingent on prevailing, because the Lease to which the Guaranty was attached did exactly that:

       If either party institutes a suit against the other party for violation of or to enforce
       any covenant or condition of this Lease, or if either party intervenes in any suit in
       which the other party is a party to enforce or protect its interest or rights, the
       prevailing party shall be entitled to all of its costs and expenses, including
       reasonable attorneys’ fees. The term “prevailing party” is defined to mean the party
       who obtains a final unappealable determination of wrongful conduct by the other
       party regardless of whether actual damages are awarded.

[Dkt. 39-1 at AMA000069, Lease ¶ 26 (emphasis added).]

       This interplay between the Lease and Guaranty confirms AMA’s entitlement to attorneys’

fees. The Guarantors executed the Guaranty “to induce [AMA] to enter into” the Lease. [Id. at

AMA000089, Guaranty ¶ 1.] The Lease and Guaranty intentionally differed in their attorneys’ fees

provisions, with the Lease’s mutual and dependent on prevailing, while the Guaranty’s was one-

sided in AMA’s favor and not dependent on prevailing.

       Had the parties intended for the attorneys’ fees provision of the Guaranty to also require

prevailing, they would have stated so, and this intentional omission of prevailing party language

in the Guaranty must be given effect. See Wibbenmeyer, 2010 Tex. App. LEXIS 2203, at *12.

(“We must construe the contract as a whole ‘in an effort to harmonize and give effect to all the

provisions of the contract so that none will be rendered meaningless.’”)

                                              III.
                                          CONCLUSION

       For the reasons set forth in this Reply and the Motion, AMA respectfully requests the Court

award it $39,731.40 in attorneys’ fees it incurred in this matter.




AMA’S REPLY IN SUPPORT OF ITS MOTION FOR ATTORNEYS’ FEES                                          PAGE 4
   Case 3:17-cv-02923-N Document 66 Filed 11/30/18             Page 5 of 5 PageID 626


Dated: November 30, 2018                  Respectfully submitted,

                                          PLATT CHEEMA RICHMOND PLLC

                                          By: s/ Bill S. Richmond___
                                          Bill S. Richmond
                                          Texas Bar No. 24066800
                                          brichmond@pcrfirm.com
                                          Andrew Lin
                                          Texas Bar No. 24092702
                                          alin@pcrfirm.com
                                          1201 N. Riverfront Blvd., Suite 150
                                          Dallas, Texas 75207
                                          214.559.2700 Main
                                          214.559.4390 Fax

                                          COUNSEL FOR DEFENDANT

                              CERTIFICATE OF SERVICE

       The undersigned counsel for Defendant does certify that he served this pleading on all
counsel of record by electronic filing on November 30, 2018 through the CM/ECF system.

                                                  /s/ Andrew Lin




AMA’S REPLY IN SUPPORT OF ITS MOTION FOR ATTORNEYS’ FEES                             PAGE 5
